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                                                    DATE FILED: 10- ?-21.J
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

---------------------------------------x
UNITED STATES OF AMERICA

             -against-                                                           ORDER



                                                                    17CR274
Lionel Moore                                                                  Docket#
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Honorable Andrew L. Carter, Jr. , DISTRICT JUDGE:
         Judge's Name




_A_n_g_u_s_J_a_m_e_s_B_e_l_l_____ is hereby ordered to assume
representation of the defendant in the above captioned

matter, NUNC-PRO-TUNC _3_/_1_3_/_2_4_ __




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                                     UNITED STATES DISTRICT JUDGE




Dated:   New York, New York
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